Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 1 of 14




       EXHIBIT 15
       Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 2 of 14



                                                                   Page 1

1
2       UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
3       Civil Case No. 17-CV-02393
        - - - - - - - - - - - - - - - - - - - -x
4       CIERA WASHINGTON,
                            Plaintiff,
5                -against-
        WALGREENS; WALGREENS CO.; DUANE READE;
6       DUANE READE INC.; DUANE READE
        INTERNATIONAL, LLC; and Individually and
7       Jointly; LUIS GUERRERO; GERMAINE ALLEN;
        VIVIAN GHOBRIAL; and CRYSTAL BECKRUM,
8                           Defendants.
        - - - - - - - - - - - - - - - - - - - -x
 9
10                                      1250 Broadway
                                        New York, New York
11                                      February 7, 2018
                                        10:00 a.m.
12
13                    PORTIONS CONFIDENTIAL,
                      ATTORNEYS' EYES ONLY
14
15         DEPOSITION of MICHAEL GEYER, a witness
16      appearing on behalf of the Defendants in
17      the above-entitled action, held at the
18      above time and place, taken before Brian
19      Brenner, a Shorthand Reporter and Notary
20      Public of the State of New York, pursuant
21      to the Federal Rules of Civil Procedure,
22      Court Order and stipulations between
23      Counsel.
24
25

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       Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 3 of 14



                                                                   Page 5

1                             M. GEYER
2              Q       You've just spoken with the
3       court reporter and he put you under oath.
4       Do you recall that?
5              A       Yes.
6              Q       Have you ever been a part of a
7       deposition before?
8              A       I have.
9              Q       In connection --
10                     MS. MORRISON:                Strike that.
11             Q       Who is your current employer?
12             A       Duane Reade which is part of the
13      Walgreens family of companies.
14             Q       It's a subsidiary of Walgreens?
15             A       We are owned and aligned to
16      Walgreens as a parent company, but we are
17      a separate company because we are a
18      unionized shop, if you will, versus
19      Walgreens which is not.                   We are part of
20      the Walgreens family of companies but we
21      are independent of them because of the
22      union affiliation.
23             Q       Is it accurate to say that Duane
24      Reade is a subsidiary of Walgreens?
25             A       Yes.

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       Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 4 of 14



                                                                   Page 9

1                             M. GEYER
2              Q       Do you know who might have
3       reviewed any records related to that?
4                      MS. WELCH:             Objection.
5                      You can answer.
6              A       I don't know.              I don't know.
7              Q       Are you aware that Plaintiff was
8       employed with Walgreens and Duane Reade in
9       2015?
10             A       I believe that to be accurate,
11      yes.
12             Q       And in the early part of 2016 as
13      well, are you aware of that?
14             A       I believe that to be accurate.
15             Q       And why do you believe that to
16      be accurate?
17             A       Just based on the information
18      that I pulled, that I recall viewing, you
19      know, the date of hire information, like
20      that.
21             Q       So in terms of any sort of
22      discipline that Plaintiff may have
23      received including termination,
24      suspension, what have you, are you
25      familiar with any of that?

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       Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 5 of 14



                                                                 Page 116

1                             M. GEYER
2       that Gregory Spears was fired on November
3       2015, according to this voluntary
4       statement, right?
5              A       Seemingly so, yes.
6              Q       But do you see the date of the
7       voluntary statement from Mr. Guerrero?
8              A       Yes, I do.
9              Q       What date is it?
10             A       2/22/16.
11             Q       This voluntary statement was
12      done in February 2016 after Gregory Spears
13      was allegedly fired in November of 2015,
14      right?
15             A       Correct.
16             Q       So the voluntary statement from
17      Mr. Guerrero was actually done November,
18      December, January -- three months after
19      Gregory Spears was fired and you said
20      that's not typically done, right?
21             A       Not typical.
22             Q       Turn to the next page Bates
23      stamped DR173.           Do you see there's another
24      voluntary statement there?
25             A       I do.

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       Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 6 of 14



                                                                 Page 117

1                             M. GEYER
2              Q       Have you ever seen this
3       particular one with Ms. Washington's
4       handwriting on it?              So you know, her
5       voluntary statement consists of three
6       pages, DR173, 174, and 175 as it is in
7       this statement, as it is in the documents
8       produced by Defendants.                   Do you see that?
9              A       I do.
10             Q       Did you say that you had never
11      seen this before?
12             A       I have not seen this before.
13             Q       Did you know that Ms. Washington
14      did a voluntary statement?
15             A       I did not.
16             Q       Again we have an incident that
17      we are talking about that occurred in
18      October of 2015, right?
19             A       Um-hmm, yes.
20             Q       But Ms. Washington's voluntary
21      statement was in February 2016.                     That
22      again is not really conforming with
23      company policy, right?
24                     MS. WELCH:             Objection.
25             A       It's not typical so I'm not sure

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       Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 7 of 14



                                                                 Page 118

1                             M. GEYER
2       what the circumstances were or are that
3       something was written later, you know,
4       months later.
5              Q        Because that's unusual, correct?
6                       MS. WELCH:            Objection.
7              A        It's not typical.
8              Q        If someone --
9                       MS. MORRISON:               Strike that.
10             Q        Again you said you've never --
11      you don't know anything specific about
12      Plaintiff with respect to this at all,
13      right?
14             A        I do not.
15             Q        How about the following pages of
16      this document, 177 through 188?                     Do you
17      have any knowledge of the significance of
18      these documents produced by Defendant with
19      respect to Plaintiff?
20             A        Specifically to her, no, I do
21      not.        I mean, I know what they are.
22             Q        What are they?
23             A        So these are electronic captures
24      of specific transactions.                     That's on 177.
25      Then after that, 178 through 188, they

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       Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 8 of 14



                                                                 Page 120

1                             M. GEYER
2       transactions?
3              A       Correct.
4              Q       In 177 at the top it says
5       receipt details, start date 10/13/15, end
6       date 10/13/15.           Do you see that?
7              A       177, you said?
8              Q       Receipt details.
9              A       Yes.
10             Q       Does that mean that this receipt
11      is from 10/13/15?
12             A       It appears that way.
13             Q       If someone is suspended -- we
14      are talking about with reference to
15      Plaintiff only -- for allegedly being
16      involved in --
17                     MS. MORRISON:                Strike that.
18             Q       If someone's suspended, that
19      would be investigated, the reasons before
20      they are suspended, as policy?
21                     MS. WELCH:             Objection.
22             A       As policy, yes.
23             Q       And they would generally be
24      voluntary statements before the suspension
25      related to --

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       Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 9 of 14



                                                                 Page 121

1                             M. GEYER
2              A       Typically, yes.
3              Q       And in your experience most of
4       the time you will have voluntary
5       statements occurring before a suspension
6       occurs if they are related to the reasons
7       for the suspension?
8              A       Typically, yes.
9              Q       You've already testified to
10      typically about voluntary statements.
11      That's before a person's fired?
12             A       Typically, yes.
13             Q       As a policy and practice of the
14      company?
15             A       Yes.
16             Q       Turn to the same exhibit,
17      Plaintiff's Exhibit 6, Bates DR169.                       Do
18      you see that that's an e-mail, e-mail
19      communication?
20             A       I do.
21             Q       At the top there doesn't appear
22      to be a date to this e-mail, but it's from
23      Vivian Ghobrial, correct?
24             A       Correct.
25             Q       But there's no date on this

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      Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 10 of 14



                                                                Page 122

1                            M. GEYER
2       particular document e-mail, but below
3       there, there's a date of February 19,
4       2016.       Do you see that?
5              A       I do.
6              Q       And that's a communication with
7       the subject Ciera Washington,
8       communications between Troy Hennessy and
9       Vivian Ghobrial, correct?
10             A       Correct.
11             Q       Now, going back up to the top,
12      Vivian Ghobrial's e-mail doesn't have a
13      date on it, but do you see that it says HR
14      has reviewed Ciera Washington's paperwork
15      and video regarding her suspension and
16      supports the decision to terminate?                       Do
17      you see that?
18             A       I do.
19             Q       It says: "Please contact
20      Ms. Washington and inform her that her
21      employment is terminated due to an
22      investigation that shows her accepting
23      items that were price modified for her by
24      another associate and for failure to get a
25      bag check prior to leaving the store."

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      Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 11 of 14



                                                                Page 123

1                            M. GEYER
2                      Do you see that?
3              A       I do.
4              Q       And above it says violation of
5       rules.      Do you see that?
6              A       I do.
7              Q       Now, we already said there were
8       no rules against an employee accepting
9       items that were price modified by another
10      associate, right?
11             A       We did.
12             Q       So that wasn't a violation of
13      rules, correct?
14                     MS. WELCH:            Objection.
15             A       Apparently -- you know,
16      seemingly no, but again, I don't know the
17      particulars of what really happened here.
18             Q       But according to this e-mail it
19      says terminated due to investigation that
20      shows her accepting items that were price
21      modified for her by another associate.
22             A       Right.
23             Q       So to your knowledge of the
24      rules, policies, practices in effect
25      during Plaintiff's employment, accepting

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      Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 12 of 14



                                                                Page 124

1                            M. GEYER
2       items that were price modified by another
3       associate is not a violation of any rule,
4       correct?
5                      MS. WELCH:            Objection.
6              Q       You've already testified to
7       this.
8              A       Yeah, you're right, but again I
9       don't know what specifically happened
10      here.
11             Q       It also says: "And for failure
12      to get a bag check prior to leaving the
13      store."
14                     Do you see that?
15             A       I do.
16             Q       Do you know of any written or
17      verbal or otherwise policy in effect
18      during Plaintiff's employment saying an
19      employee will be filed for not getting a
20      bag check prior to leaving the store?
21             A       To be fired?            No, but it is
22      required that you get a bag check when you
23      leave the store.
24             Q       Is that policy written anywhere
25      in the employee handbook?

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      Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 13 of 14



                                                                Page 125

1                             M. GEYER
2              A       I believe it is in here
3       somewhere.
4              Q       Can you find it?
5              A       At the bottom of page 81 --
6              Q       Bates stamp 81?
7              A       Yes.     All employees are subject
8       to bag checks and locker checks at random
9       intervals.
10             Q       It doesn't say prior to leaving
11      the store, right?
12             A       Correct.
13             Q       So there is no policy -- there's
14      a policy with respect to you being subject
15      to it randomly, but there was no policy in
16      effect during Plaintiff's employment that
17      you have to get a bag check prior to
18      leaving the store, period, right?
19             A       At the time, correct.
20             Q       And there's certainly no policy
21      at any time during Plaintiff's employment
22      that there was a violation of --
23                     MS. MORRISON:               Strike that.
24             Q       There was certainly no violation
25      during Plaintiff's employment, written,

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      Case 1:17-cv-02393-JMF Document 142-15 Filed 07/17/18 Page 14 of 14



                                                                 Page 198

1                             M. GEYER
2              Q       Got it, but you don't recall
3       what information you reviewed
4       specifically?
5              A       No.     I could tell you that what
6       I did review did not -- did not reveal
7       anything like that, at least what I've
8       seen.       Maybe someone else has something
9       different.        I don't recall.                  I don't know
10      that, so I can't say that.
11             Q       Got it, so when you're saying
12      that, you may have seen information; is
13      that correct, in sum and substance?
14             A       Yeah, or read something or that
15      line something, you know, somewhere, but,
16      you know, I don't have specific
17      information.
18             Q       Got it.       I just want to
19      understand.          So you're saying you may have
20      reviewed information regardless of whether
21      it's written or what have you that
22      indicated that Plaintiff may have made
23      complaints that she was being retaliated
24      dense during her employment?
25             A       Yes.

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